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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

THE ESTATE OF WILLIE REYNOLDS,                    )
by and through its administrator                  )
TAMIKA REYNOLDS,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )      CASE NO. 3:17cv864-SRW
                                                  )
THE PROCTOR & GAMBLE                              )
DISTRIBUTING, LLC, et al.,                        )
                                                  )
       Defendants.                                )

                        MEMORANDUM OPINION AND ORDER

       This matter is before the court on plaintiff’s motion to remand (Doc. 9) and motion

for leave to file amended complaint (Doc. 15), which are opposed by defendants The

Proctor & Gamble Distributing LLC, The Proctor & Gamble Manufacturing Company, and

The Proctor and Gamble Company (“the Proctor & Gamble defendants”). This case was

initially assigned to the undersigned as presiding judge, and the parties thereafter consented

in writing to the exercise of final dispositive jurisdiction by the Magistrate Judge pursuant

to 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73(a). (Docs. 23, 24, 25). The

motion to remand and motion for leave to file amended complaint have been briefed and

taken under submission without oral argument. For the reasons stated herein, the plaintiff’s

motion to remand is due to be denied; however, the plaintiff’s motion for leave to file

amended complaint is due to be granted, which will result in remand of this case.
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I.      Background and facts1

        Plaintiff initiated this suit on November 20, 2017 by filing a complaint in the Circuit

Court of Macon County, Georgia. (Doc. 2-1). Plaintiff is the personal representative of the

Estate of Willie Reynolds. (Id.). Plaintiff’s complaint alleges, inter alia, that the Proctor &

Gamble defendants design, develop, test, manufacture, package, label, distribute, and sell

Tide Pods and Gain Flings, which are “single-use laundry packets designed to be used in

domestic washing machines” that contain “highly concentrated ingredients which can be

lethal if ingested.” (Id. at ¶ ¶ 14-15). Plaintiff alleges that “[s]ince 2012, it is estimated that

more than 20,000 humans have been injured by mistakenly ingesting single-dose laundry

packets”; that “[t]he products resemble candy and are aesthetically appealing to humans

with less than full mental capacity”; and that “Willie Reynolds, who lacked full mental

capacity, died as the result of ingesting one or more Gain Flings purchased by Tamika

Reynolds from Roses [Express] in Tuskegee, Alabama.” (Id. at ¶ ¶ 15-16, 20).

        According to the complaint, “P&G continues to manufacture, market, and

distribute,” and “Variety Wholesalers continue to sell[,] these potentially deadly candy-

like products” despite having knowledge of injuries and deaths caused by single-dose

laundry packets. (Id. at ¶ ¶ 16-18). Plaintiff alleges that Gain Flings are “defective in their

design, formulation, and packaging” and “ha[ve] inadequate warnings.” (Id. at ¶ ¶ 23-24).

Plaintiff further alleges that defendants had a duty to remove Gain Flings from the


1
  These are facts only for the purposes of the court’s ruling on the pending motion to remand and motion for leave to
file amended complaint. They are gleaned from the notice of removal (Doc. 2) and exhibits thereto, the motion to
remand (Doc. 9), the brief in opposition to the motion to remand (Doc. 13), the brief in support of the motion to
remand (Doc. 14) and exhibits thereto, the motion for leave to file amended complaint and proposed amended
complaint (Doc. 15), and the brief in opposition to the motion for leave to file an amended complaint (Doc. 21).
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marketplace, that defendants breached that duty by making a conscious decision to

continue selling Gain Flings, and that “[t]he combined negligence and/or wantonness of all

[d]efendants combined to cause the death of Willie Reynolds.” (Id. at ¶ ¶ 28-30, 40).

       The Proctor & Gamble defendants answered plaintiff’s complaint on December 20,

2017. (Doc. 2-2). Defendant Variety Wholesalers, Inc. answered plaintiff’s complaint on

December 20, 2017. (Doc. 2-3). Defendant Variety Stores, Inc. d/b/a Roses Express

answered plaintiff’s complaint on December 21, 2017. (Doc. 2-4). Defendant Vera Gardner

answered plaintiff’s complaint on December 21, 2017. (Doc. 2-5). On December 26, 2017,

30 days after the complaint and summons was served on the last defendant, the Proctor &

Gamble defendants filed their notice of removal (Doc. 2), and Variety Wholesalers, Inc.,

Variety Stores, Inc. d/b/a Roses Express and Vera Gardner consented to removal. (Doc. 2-

7). Defendants’ notice of removal is premised on diversity jurisdiction. (Doc. 2 at 3-4).

II.    The parties’ positions

       In their notice of removal, the Proctor & Gamble defendants argue that despite

defendant Vera Gardner’s citizenship in Alabama, which would destroy this court’s

diversity jurisdiction, the case is nevertheless removable because plaintiff fraudulently and

improperly joined Gardner in an attempt to defeat diversity and prevent removal of the case

to federal court. (Doc. 2 at 3). The Proctor & Gamble defendants argue that Gardner is

fraudulently joined because “[p]laintiff cannot possibly recover on the claims asserted

against Gardner.” (Doc. 2 at 5). In support of their argument, the Proctor & Gamble

defendants submit declarations from defendant Vera Gardner (Doc. 2-8), and G. Templeton

Blackburn II, the vice president and general counsel for Variety Wholesalers, Inc., (Doc.
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2-9), stating that Gardner neither knew of any risks of injury from Gain Flings nor did she

have any control or input as to whether they were stocked or sold by Roses Express.

       Plaintiff does not dispute the amount in controversy or the timeliness of defendant’s

removal. (Doc. 9). Plaintiff argues that the case is due to be remanded because the court

has neither federal question nor diversity jurisdiction. (Id.). Plaintiff maintains that Gardner

is a properly joined defendant, that the “[c]omplaint sufficiently alleges claims of

negligence and wantonness against Vera Gardner for the product placement decisions she

made as an employee at R[oses] [Express],” and that “[d]efendants have not met their

heavy burden of establishing fraudulent joinder.” (Id. at 2-4).

       The Proctor & Gamble defendants argue in response to plaintiff’s motion to remand

that they have satisfied their burden of demonstrating that plaintiff cannot possibly recover

against Gardner through the testimonial evidence set forth in the declarations by Gardner

and Templeton, and that “[p]laintiff has failed to produce any evidence that refutes or

contradicts the testimony of Gardner and Blackburn” despite having the opportunity to do

so. (Doc. 13 at 3).

       Plaintiff’s reply to Proctor & Gamble defendants’ response contends that

“[a]lthough Defendants present alternative facts that would not support a claim against

Gardner, the court must resolve all factual disputes in favor of Plaintiff.” (Doc. 14 at 2).

Plaintiff further maintains that “[d]efendants are prematurely arguing that their set of facts

is accurate” and that “viewed in the light most favorable to Plaintiff and accepted as true,”

the factual allegations in the complaint demonstrate that defendants have not met their

burden of proving fraudulent joinder. (Doc. 14 at 4).
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       Additionally, plaintiff has filed a motion for leave to file an amended complaint

which would add Lifestar Response of Alabama, Inc. d/b/a Care Ambulance (“Lifestar”),

another non-diverse defendant, to her complaint. (See Docs. 15, 15-1). Plaintiff alleges that

“[s]ince filing the Complaint and Removal, Plaintiff received a copy of the ambulance

report,” which “indicates that Lifestar failed to follow Alabama Paramedic Protocols while

providing care to Willie Reynolds,” and she therefore seeks to amend her complaint to

include an Alabama Medical Liability Act Claim against Lifestar. (Doc. 15 ¶¶ 5-6).

       In opposing plaintiff’s motion for leave to file amended complaint, the Proctor &

Gamble defendants argue that “it can be readily inferred that amendment is being sought

for one purpose: to destroy diversity jurisdiction and thus prompt remand of this case,” and

it should therefore be denied. (Doc. 21 at 5).

III.   Legal standards

       A.     Fraudulent Joinder

       Removal premised on diversity jurisdiction under 28 U.S.C. § 1332(a) requires

complete diversity of citizenship. Nevertheless, removal may be permitted if there is a lack

of complete diversity on the face of the pleadings if the non-diverse defendant is

fraudulently joined. Triggs v. John Crump Toyota, 154 F.3d 1284, 1287 (11th Cir.

1998)(citing Tapscott v. MS Dealer Service Corp., 77 F.3d 1353, 1359 (11th Cir. 1996)).

The Eleventh Circuit has recognized three circumstances in which joinder is deemed

fraudulent: (1) when there is no possibility that the plaintiff can prove a cause of action

against the non-diverse defendant; (2) when there is outright fraud in the plaintiff’s

pleading of jurisdictional facts; and (3) where a diverse defendant is joined with a non-
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diverse defendant as to whom there is no joint, several, or alternative liability and where

the claim against the diverse defendant has no real connection to the claim against the non-

diverse defendant. See id. (citing Tapscott, 77 F.3d at 1353; Coker v. Amoco Oil Co., 709

F.2d 1433, 1440 (11th Cir. 1983)(superseded by statute on other grounds as stated in

Georgetown Manor Inc. v. Ethan Allen, Inc., 991 F.2d 1533(11th Cir. 1993))).

       “The determination of whether a resident defendant has been fraudulently joined

must be based upon the plaintiff’s pleadings at the time of removal, supplemented by any

affidavits and deposition transcripts submitted by the parties.” De Perez v. AT&T Co., 139

F.3d 1368, 1380 (11th Cir. 1998)(citing Cabalceta v. Standard Fruit Co., 883 F.2d 1553,

1562 (11th Cir. 1989)). And “all that is required to defeat a fraudulent joinder claim is a

‘possibility of stating a valid cause of action.’” Stillwell v. Allstate Ins. Co., 663, F.3d 1329,

1333 (11th Cir. 2011)(quoting Triggs, 154 F.3d at 1287).

       “The proceeding appropriate for resolving a claim of fraudulent joinder is similar to

that used for ruling on a motion for summary judgment under Fed. R. Civ. P. 56(b),” and

“[i]n such a proceeding, the district court must resolve all questions of fact … in favor of

the plaintiff.” Legg v. Wyeth, 428 F.3d 1317, 1322-23 (11th Cir. 2005)(quoting Crowe v.

Coleman, 113 F.3d 1536, 1538 (11th Cir. 1997); Cabalceta, 883 F.2d at 1561)(internal

quotations omitted). However, where defendants submit affidavits that are undisputed by

the plaintiff, “the court cannot then resolve the facts in the Plaintiff[’s] favor based solely

on the unsupported allegations in the Plaintiff’s complaint.” Legg, 428 at 1323. “[T]he

plaintiff generally must come forward with some evidence to dispute the sworn statements

in the affidavit.” Shannon v. Albertelli Firm, P.C., 610 F. App’x 855, 871 (11th Cir. 2015).
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In Legg, the Eleventh Circuit relied on a previous Fifth Circuit case which explained how

disputed questions of fact are resolved where fraudulent joinder is alleged:

       While such a procedure requires that all disputed questions of fact be
       resolved in favor of the nonremoving party, as with a summary judgment
       motion, in determining diversity the mere assertion of metaphysical doubt as
       to the material facts [is] insufficient to create an issue if there is no basis for
       those facts. So also as with a summary judgment motion: We resolve factual
       controversies in favor of the nonmoving party, but only when there is an
       actual controversy, that is, when both parties have submitted evidence of
       contradictory facts. We do not, however, in the absence of any proof, assume
       that the nonmoving party could or would prove the necessary facts.

Badon v. RJR Nabisco, Inc., 224 F.3d 382, 393-94 (5th Cir. 2000)(emphasis in

original)(internal citations omitted).

       B.     Post-Removal Joinder

       Under 28 U.S.C. § 1441(3), “[i]f after removal the plaintiff seeks to join additional

defendants whose joinder would destroy subject matter jurisdiction, the court may deny

joinder, or permit joinder and remand the action to the State court.” 28 U.S.C. § 1447(e).

See also Ingram v. CSX Transp., Inc., 146 F.3d 858, 862 (11th Cir. 1998). District courts

have wide discretion in considering whether to allow joinder of a defendant which would

destroy diversity jurisdiction, and such decisions are reviewed under the abuse of discretion

standard. Dever v. Family Dollar Stores of Ga., LLC, 2018 WL 5778189 *2 (11th Cir.

2018). As recently explained by the Eleventh Circuit:

       Rule 15(a) of the Federal Rules of Civil Procedure provides that courts
       “should freely give leave” to amend “when justice so requires,” and Rule 20
       permits joinder of proper parties … a district court must scrutinize more
       closely an amended pleading that would name a new nondiverse defendant
       in a removed case because justice requires that the district court also balance
       the defendant’s interests in maintaining the federal forum.
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Id. at *3 (internal citations omitted). In Dever, the Eleventh Circuit adopted a test from the

Fifth Circuit which weighs four factors in deciding whether to permit joinder of a

nondiverse defendant after a removal: (1) the extent to which the purpose of the amendment

is to defeat federal jurisdiction, (2) whether the plaintiff has been dilatory in asking for

amendment, (3) whether the plaintiff will be significantly injured if amendment is not

allowed, and (4) any other factors bearing on the equities. Id. (citing Hensgens v. Deere &

Co., 883 F.2d 1179, 1182 (5th Cir. 1987)). District courts have “broad discretion in

weighing these factors to decide whether to permit or deny an amendment.” Id. “If the court

permits joinder of the nondiverse defendant, it must remand the case to state court. If it

declines to allow the joinder, the federal court maintains jurisdiction.” Id.

IV.    Discussion

       A.     Fraudulent Joinder

       Plaintiff’s complaint alleges that resident defendant Vera Gardner negligently or

wantonly allowed Gain Flings to be sold to the Macon County public “when the risk [sic]

of the product were known,” and that “[a] conscious decision was made to sell” Gain Flings

despite such knowledge. (Doc. 2-1 ¶¶ 28-30, 40). The Proctor & Gamble defendants argue

that plaintiff cannot possibly recover against Gardner because (1) Gardner is not subject to

liability for products liability actions as a mere employee of a retailer that sells the product

and, therefore, Gardner did not owe any duty or breach any alleged duty owed to Plaintiff;

and (2) Gardner is precluded from being a party-defendant to Plaintiff’s product liability

action and statutorily immune from liability under Alabama’s Innocent Seller Statute.

(Doc. 2 at 11). Therefore, the Proctor & Gamble defendants argue, plaintiff can neither
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assert a product liability claim against Gardner nor an individual negligence or wantonness

claim under Alabama state law. (Doc. 13 at 4-10).

       In an affidavit submitted by the Proctor & Gamble defendants with their notice of

removal, Gardner avers that she “has no control or decision-making authority over the

items or products Roses Express stocks on its shelves and sells to customers,” has “no

discretion or authority to compel or prevent the distribution of Gain flings! by Roses or

Roses Express Store, including the Tuskegee store,” and “was unaware of any potential

dangers associated with Gain flings! or any other single-use laundry detergent packet or

pod” prior to reading plaintiff’s complaint. (Doc. 2-8 ¶¶ 6-8). Templeton’s declaration

similarly avers that “Vera Gardner has no discretion, input, control authority over, or

participation whatsoever in the decision to sell – or refrain from selling – Gain flings! or

any other product in the Tuskegee Roses Express inventory.” (Doc. 2-9 ¶ 9).

       Despite an opportunity – either in the motion to remand or the reply in support of

objection to removal and motion to remand – to present evidence contrary to that provided

by affiants Gardner or Templeton, plaintiff presents none. Plaintiff cites Dalraida

Properties, Inc. v. Elastikote, LLC, 2015 WL 4393158 (M.D. Ala. 2015) (citing Barnes v.

General Motors, LLC, 2014 WL 2999188 (N.D. Ala. 2014)), in support of its argument

that there is a possibility of stating a valid cause of action against defendant Gardner. (Doc.

9 at 3-4). However, Barnes is distinguishable from the present case. Although, as plaintiff

argues, Barnes notes that, at the very least, independent wantonness claims are not

precluded by Alabama’s Innocent Seller Statute, see Barnes, 2014 WL 2999188 *4-5, in

order to establish wantonness under Alabama law, a plaintiff “must prove that the
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defendant, with reckless indifference to the consequences, consciously and intentionally

did some wrongful act or omitted some known duty.” Norfolk S. Ry. Co. v. Johnson, 75 So.

3d 624, 645-46 (Ala. 2011)(internal citations omitted). Thus, while the Innocent Seller

Statute does not preclude an individual claim against Gardner for negligence or

wantonness, “[p]roximate cause is an essential element of both negligence claims and

wantonness claims,” id. at 646, and plaintiff offers no evidence to refute the affiants’ claims

that Gardner had no knowledge of the danger of Gain Flings, no decision-making ability

to remove or retain Gain Flings on sale at Roses Express, and neither intentionally nor

consciously acted with indifference. Plaintiff merely asserts that “[p]laintiff’s complaint

alleges sufficient facts to support claims of negligence and wantonness against Gardner.”

(Doc. 14 at 3). As in Legg, where the Eleventh Circuit found that plaintiffs had not

presented any evidence that the defendant knew or should have known about the risks of a

product, and could not reasonably be found to have breached a duty, there is no reasonable

basis here to conclude that Gardner – an employee with no decision-making authority

concerning product selection and no knowledge of the risks of Gain Flings – had

knowledge or a duty sufficient to give rise to a plausible claim that Gardner is personally

liable for injury to plaintiff under either a negligence or wantonness theory. Legg, 428 F.3d

at 1324-25. Accordingly, plaintiff’s motion to remand is due to be denied.

       B.     Post-Removal Joinder

       Plaintiff’s motion for leave to file an amended complaint states that Lifestar

transported Willie Reynolds to the hospital, and that plaintiff seeks leave to file an amended

complaint because an ambulance report received subsequent to the filing of the complaint
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and defendant’s removal “indicates that Lifestar failed to follow Alabama Paramedic

Protocols while providing care to Willie Reynolds.” (Doc. 15). Plaintiff’s amended

complaint further represents that Lifestar is a health-care provider within the meaning of

the Alabama Medical Liability Act, and that Lifestar and its employees, agents, and/or

servants had a duty to exercise the same reasonable care, skill, and diligence as other

similarly situated health care providers, failed to meet the adequate standard of care, and

proximately caused the death of Willie Reynolds because it

       (a) failed to secure and transport the known source of poisoning (Gain
       Flings!);
       (b) failed to contact [the] Poison Control Center;
       (c) failed to provide and/or administer life sustaining medications and
       treatment;
       (d) failed to follow patient care protocols; and
       (e) failed to properly hire, train, supervise, monitor, and retain staff

(Doc. 15-1 ¶¶ 42-46).

       In considering whether to allow Lifestar to be joined, which would result in remand,

or to deny plaintiff’s motion for leave to file amended complaint, the court applies the

Hensgens factors as detailed above.

              i.     The circumstances surrounding plaintiff’s joinder of Lifestar do
                     not establish that joinder’s purpose is to defeat diversity
                     jurisdiction.

       Concerning the first Hensgens factor, the Proctor & Gamble defendants argue that

“[p]laintiff only moved for leave to add Lifestar as a defendant after this case was removed

and after P&G filed its opposition to [p]laintiff’s remand motion.” (Doc. 21 at 2).

Defendants do not dispute plaintiff’s claim that she did not receive the ambulance report,

upon which she bases her claim against Lifestar, until after the complaint and removal were
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filed. (Id.) Defendant cites Smith v. White Consol. Indus. for the proposition that “[s]everal

courts have held that the fact that a plaintiff attempted to add a non-diverse defendant only

after the case was removed, even though he knew or should have ascertained the identity

of the defendant at an earlier time, strongly indicates that the purpose of the plaintiff’s

amendment is to defeat federal jurisdiction.” Smith v. White Consol. Indus, 229 F. Supp.

2d 1275, 1280 (N.D. Ala. 2002). However, unlike in Smith, where the additional defendant

whom plaintiff sought to add was clearly known to plaintiff and implicated by the claims

before the case was removed, here plaintiff seeks to add Lifestar to its complaint due to

new information which underlies new claims against Lifestar arising out of the same

transaction or occurrence as its existing claims. See Teague v. Gas Fired Prods., 2016 WL

7373732 at *2 (N.D. Ala. 2016)(Plaintiffs permitted to add claims where “the discovery

process produced other theories of liability.”). Thus, the first Hensgens factor weighs in

favor of amendment.

              ii.    Plaintiff was not dilatory in seeking to add Lifestar as a co-
                     defendant.

       With respect to the second Hensgens factor, the Proctor & Gamble defendants argue

that “[p]laintiff knew or should have known the predicate facts when it filed the original

complaint in November 2017, including the identity of the putative new defendant

Lifestar.” (Doc. 21 at 4). As discussed above, although plaintiff may have been aware of

the identity of Lifestar, there is no indication that plaintiff had any reason to believe that

Lifestar played any part in Willie Reynolds’ death until the ambulance report was received.

The court finds that plaintiff has not been dilatory in seeking amendment; it filed its
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amended complaint joining Lifestar within four months after filing its initial complaint in

state court, and three months after the case was removed from state court. See, e.g., Lawson

v. Wal-Mart Stores East L.P, 2018 WL 684839 *4 (N.D. Ala. 2018)(finding plaintiff not

dilatory where amended complaint was filed within 6 months of initial complaint); Teague,

2016 WL 7373732 *1 (finding plaintiffs not dilatory where amended complaint was filed

8 months after initial complaint). Thus, the second factor also weighs in favor of

amendment.

               iii.   The expense and time associated with pursuing parallel litigation
                      in state court pose a significant risk to plaintiff’s ability to litigate
                      her claims fully.

       In analyzing the third Hensgens factor, “courts generally attempt to determine

whether a plaintiff can be afforded complete relief in the absence of the amendment.”

Holiday Isle, LLC v Clarion Mortg. Capital, Inc., 2008 WL 1756369 *3 (S.D. Ala.

2008)(citing Jones v. Rent-A-Center E., Inc., 356 F. Supp. 2d 1273, 1277 (M.D. Ala. 2005);

Bevels v. American States Ins. Co., 100 F. Supp. 2d 1309, 1314 (N.D. Ga. 1993); Sexton v.

G & K Servs. Inc., 51 F. Supp. 2d 1311, 1314 (M.D. Ala. 1999)). Defendant argues that

“[t]o the extent that [p]laintiff has a valid claim against Lifestar, Plaintiff can obtain relief

in state court.” (Doc. 21 at 4). While the court agrees that plaintiff may pursue relief against

Lifestar in state court, the “inefficiency of proceeding in parallel forums and the desirability

of providing complete relief in one lawsuit, warrant joinder of the non-diverse parties.” Id.

The costs to plaintiff to “incur [] expense and time associated with pursuing a parallel

lawsuit in state court” pose a “significant risk of injury to [p]laintiff’s litigation interests if

he is not permitted to amend.” Smith v. Autauga N. R.R., LLC, 2017 WL 6060898 *4 (M.D.
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Ala. 2017). See also Jones, 356 F. Supp. 2d at 1277. Thus, the third Hensgens factor favors

amendment.

              iv.     Efficiency and judicial economy favor granting plaintiff’s motion
                      for leave to amend.

       The fourth Hensgens factor allows the court to consider any other factors which may

bear on the equities. While, as stated in Sexton, the balance of equities should include

consideration of defendants’ right to choose a federal forum, 51 F. Supp. 2d at 1313, the

court also notes that plaintiff initiated this case in state court, initially included a non-

diverse defendant, and brings entirely state law claims against defendants. See Hensgens,

833 F.2d at 1182 (the interest of a diverse defendant in retaining the federal forum must be

weighed against “the danger of parallel federal/state proceedings with the inherent dangers

of inconsistent results and the waste of judicial resources”); Smith, 2017 WL 6060898 at

*4 (“While the balance of the equities should include consideration of Defendants' right to

choose a federal forum, the court observes that Plaintiff initiated this case in state court and

intended from the outset to sue the non-diverse train operator.”); Teague, 2016 WL

7373732 at *2 (“given that the claims against Agri-South appear to arise out of the same

transaction or occurrence as the claims against GFP, the Teagues would likely be unfairly

injured if the court denies joinder. Lastly, all of the Counts in the Complaint and Amended

Complaint(s) are based upon state, rather than federal, causes of action”). As in Smith and

Teague, this court finds that the interests of efficiency and judicial economy favor litigating

plaintiff’s state law claims in state court, in a single lawsuit. Thus, the fourth Hensgens

factor also favors amendment.
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       Accordingly, the court concludes that under the Hensgens factors, the balance of

equities favors amendment. Allowing the joinder of Lifestar, a non-diverse defendant, will

divest this court of subject matter jurisdiction. Therefore, remand is required. See Dever,

2018 WL 5778189 *4; Hensgens, 883 F.2d at 1182.

V.     Conclusion

       For the reasons set forth above, it is

       ORDERED that plaintiff’s motion to remand is DENIED. It is further

       ORDERED that plaintiff’s motion for leave to file an amended complaint is

GRANTED. Plaintiff shall file the proposed amended complaint on or before Monday,

November 26, 2018.2 It is further

       ORDERED that upon plaintiff’s filing of the amended complaint, the Clerk of Court

is DIRECTED to REMAND this case to the Circuit Court of Macon County, Alabama.

       Done, on this the 20th day of November, 2018.

                                                             /s/ Susan Russ Walker
                                                             Susan Russ Walker
                                                             United States Magistrate Judge




2
 Pursuant to the court’s administrative procedures governing electronic filing and service of
documents, once leave to file a pleading is granted, “the attorney must file electronically an exact
duplicate of the attachment.”
